        Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 1 of 31




 1 Rebecca Peterson-Fisher (SBN 255359)
     Jennifer Liu (SBN 279370)
 2 C. Leah Kennedy (SBN 346306)
 3 KATZ BANKS KUMIN LLP
     150 California Street, 16th Floor
 4 San Francisco, CA 94111
     Tel: 415.813.3260
 5 Fax: 415.813.2495
     Email: Peterson-Fisher@katzbanks.com
 6 Liu@katzbanks.com
 7 Kennedy@katzbanks.com
 8 Attorneys for Plaintiff and the Proposed Class
 9
10                                    UNITED STATES DISTRICT COURT

11                                NORTHERN DISTRICT OF CALIFORNIA

12                                       SAN FRANCISCO DIVISION

13
14 STEVEN MILLER, on behalf of himself and          Case No. 22-CV-02574-JCS
     all others similarly situated,
15                                                  NOTICE OF MOTION AND MOTION
                     Plaintiff,                     FOR ORDER PROVISIONALLY
16                                                  CERTIFYING SETTLEMENT CLASS
             v.                                     AND PRELIMINARILY APPROVING
17                                                  CLASS AND PAGA SETTLEMENT;
     RED ROBIN INTERNATIONAL, INC. dba              MEMORANDUM OF POINTS AND
18 RED ROBIN BURGER AND SPIRITS                     AUTHORITIES
     EMPORIUMS, and DOES 1-100, inclusive,
19                                                  Before the Hon. Joseph C. Spero
                     Defendants.
20                                                  Hearing: December 22, 2023
                                                    Location: Courtroom F, 15th Floor
21                                                  Filed: April 27, 2022

22
23
24
25
26
27
28
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
         Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 2 of 31




                                                   TABLE OF CONTENTS
 1
                                                                                                                                    Page
 2
 3 I.        INTRODUCTION ...................................................................................................... 1

 4 II.       OVERVIEW OF INVESTIGATION AND LITIGATION........................................ 2

 5           A.       Discovery and Investigation ............................................................................ 3

 6           B.       Proposed First Amended Complaint Class Definition..................................... 4

 7           C.       Settlement Negotiations ................................................................................... 5

 8 III.      SUMMARY OF SETTLEMENT TERMS................................................................. 5

 9           A.       Definition of Settlement Class and Explanation for Differences
                      Between Settlement Class and Class Proposed in Complaint ......................... 5
10           B.       Settlement Fund ............................................................................................... 6
11                    1.        Comparison of Gross Settlement Amount to Maximum
12                              Theoretical Recovery ............................................................................ 7

13           C.       Allocation Formula .......................................................................................... 7

14           D.       Tax Characterization ........................................................................................ 7

15           E.       Scope of Release and Relationship to Complaint ............................................ 8

16           F.       PAGA Allocation............................................................................................. 8

17           G.       Attorneys’ Fees and Litigation Costs; Class Representative Service
                      Awards ............................................................................................................. 8
18           H.       Settlement Claims Administrator .................................................................... 9
19           I.       Settlement Approval and Administration Schedule ...................................... 10
20 IV.       ARGUMENT ............................................................................................................ 10
21           A.       Certification of the Settlement Class Is Appropriate ..................................... 10
22                    1.        Numerosity ......................................................................................... 10
23                    2.        Commonality ...................................................................................... 10
24                    3.        Typicality ............................................................................................ 11
25                    4.        Adequate Representation .................................................................... 11
26                    5.        Predominance of Common Questions ................................................ 12
27                    6.        Superiority .......................................................................................... 13
28
                                                                       i
          MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                     APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
        Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 3 of 31



           B.       The Settlement Meets the Requirements for Preliminary Approval ............. 14
 1
                    1.        The Settlement Is the Product of Serious, Informed, Non-
 2                            Collusive Negotiations ....................................................................... 15
 3                  2.        The Settlement Has No Obvious Deficiencies ................................... 15
 4                  3.        The Settlement Does Not Improperly Grant Preferential
                              Treatment to Class Representatives or Segements of the Class ......... 15
 5
                    4.        The Settlement Falls Within the Range of Possible Approval ........... 16
 6
           C.       Class Recovery Compared with Maximum Theoretical Recovery and
 7                  Explanation of Discounts ............................................................................... 16
 8         D.       The Settlement Meets the Requirements for Final Approval ........................ 18
 9                  1.        The Strength of the Plaintiff’s Case ................................................... 18
10                  2.        The Risk, Expense, Complexity, and Likely Duration of
                              Further Litigation ................................................................................ 21
11
                    3.        The Risk of Maintaining Class Action Status Through Trial ............. 21
12
                    4.        The Amount Offered in Settlement and Comparable Cases ............... 21
13
                    5.        The Extent of Discovery Completed and Stage of the
14                            Proceedings ......................................................................................... 23
15                  6.        The Experience and Views of Counsel; Comparable Outcomes ........ 23
16                  7.        The Presence of a Governmental Participant...................................... 24
17                  8.        The Reaction of Class Members to the Proposed Settlement ............. 24
18         E.       The Proposed Notice and Settlement Procedure Are Appropriate. ............... 24
19 V.      CONCLUSION ......................................................................................................... 25
20
21
22
23
24
25
26
27
28
                                                                  ii
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
         Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 4 of 31




 1                                                       TABLE OF AUTHORITIES
 2                                                                                                                                                  Page
 3 Cases
     A. B. v. Hawaii State Department of Education
 4      30 F.4th 828 (9th Cir. 2022) ....................................................................................................... 10
     Amaral v. Cintas Corp. No. 2
 5      163 Cal.App.4th 1157 (2008) ..................................................................................................... 18
     Amchem Prod., Inc. v. Windsor
 6      521 U.S. 591 (1997) ................................................................................................................... 14
     Bellinghausen v. Tractor Supply Co.
 7      306 F.R.D. 245 (N.D. Cal. 2015) ............................................................................................... 16
     Castillo v. Bank of America, NA
 8      980 F.3d 723 (9th Cir. 2020) ................................................................................................ 10, 12
     Chu v. Wells Fargo Invs., LLC
 9      No. C-05-4526-MHP, 2011 WL 6726451 (N.D. Cal. Feb. 16, 2011) ........................................ 23
     Churchill Vill., L.L.C. v. Gen. Elec.
10      361 F.3d 566, 575 (9th Cir. 2004) ........................................................................................ 18, 24
     Cotter v. Lyft, Inc.
11      193 F. Supp. 3d 1030, 1037 (N.D. Cal. 2016);, 163 Cal.App.4th 1157 (2008); ........................ 22
     Crawford v. Honig
12      37 F.3d 485 (9th Cir. 1994), as amended on denial of reh’g (Jan. 6, 1995) ............................... 11
     Cruz v. Dollar Tree Stores, Inc.
13      No. 07-2050 SC, 2009 WL 1458032 (N.D. Cal. May 26, 2009), modified in part, 270
        F.R.D. 499 (N.D. Cal. 2010) ...................................................................................................... 13
14   Cruz v. Sky Chefs, Inc.
        No. C-12-02705 DMR, 2014 WL 7247065 (N.D. Cal. Dec. 19, 2014) ..................................... 22
15   Damassia v. Duane Reade, Inc.
        250 F.R.D. 152 (S.D.N.Y. 2008) ................................................................................................ 13
16   De Leon v. Ricoh USA, Inc.
        No. 18-CV-03725-JSC, 2019 WL 6311379 (N.D. Cal. Nov. 25, 2019) .................................... 14
17   Deaver v. Compass Bank
        No. 13-CV-00222-JSC, 2015 WL 8526982 (N.D. Cal. Dec. 11, 2015)..................................... 16
18   Duran v. U.S. Bank Nat’l Assn.
        59 Cal. 4th 1, 26 (2014) .............................................................................................................. 12
19   Ebarle v. Lifelock, Inc., No. 15-CV-00258-HSG, 2016 WL 234364 (N.D. Cal. Jan. 20,
        2016) ........................................................................................................................................... 22
20   Fed. R. Civ. P. 23 ................................................................................................................ 10, 11, 14
     Greko v. Diesel U.S.A., Inc., 277 F.R.D. 419 (N.D. Cal. 2011) ................................................ 10, 19
21   Hanlon v. Chrysler Corp., 150 F.3d 1011 (9th Cir. 1998) .................................................. 11, 12, 18
     Heyen v. Safeway Inc., 216 Cal. App. 4th 795 (2013) .................................................................... 20
22   In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935 (9th Cir. 2011)...................................... 12
     In re Linkedin User Privacy Litig.,
23      309 F.R.D. 573 (N.D. Cal. 2015) ......................................................................................... 13, 22
     In re Wells Fargo Home Mortg. Overtime Pay Litigation, 571 F.3d 953 (9th Cir. 2009) .............. 12
24   Jacob v. Pride Transp., Inc., No. 16-CV-06781-BLF, 2018 WL 1411136, (N.D. Cal. Mar.
        21, 2018) ..................................................................................................................................... 11
25   Lerwill v. Inflight Motion Pictures, Inc., 582 F.2d 507................................................................... 14
     Linney v. Cellular Alaska P’ship, 151 F.3d 1234 (9th Cir. 1998). ........................................... 18, 23
26   Lusby v. Gamestop Inc., 297 F.R.D. 400 (N.D. Cal. 2013) (approving PAGA allocation of
        0.67% of $750,000 settlement);.................................................................................................. 23
27   Marlo v. United Parcel Serv., Inc., 639 F.3d 942 (9th Cir. 2011) ............................................ 19, 21
28
                                                                                iii
          MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                     APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
         Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 5 of 31



     Martinez v. Joe’s Crab Shack Holdings, 231 Cal. App. 4th 362 (2014), as modified on
 1      denial of reh’g (Dec. 3, 2014) .................................................................................................... 13
     Martino v. Ecolab, Inc., No. 14-CV-04358-PSG, 2016 WL 614477 (N.D. Cal. Feb. 16,
 2      2016) ........................................................................................................................................... 13
     Mies v. Sephora, U.S.A., 234 Cal. App. 4th 967 (2015) ................................................................. 19
 3   Moore v. PetSmart, Inc., No. 5:12-CV-03577-EJD, 2015 WL 5439000 (N.D. Cal. Aug. 4,
        2015), aff’d, 728 F. App’x 671 (9th Cir. 2018) .......................................................................... 22
 4   Mullane v. Cent. Hanover Bank & Trust Co.
        (1950) 339 U.S. 306, 314 ........................................................................................................... 24
 5   Nat’l Rural Telecommunications Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 525 (C.D. Cal.
        2004) ........................................................................................................................................... 14
 6   Nen Thio v. Genji, LLC, 14 F. Supp. 3d 1324 (N.D. Cal. 2014) ......................................... 14, 15, 16
     Officers for Just. v. Civ. Serv. Comm'n of City & Cnty. of San Francisco, 688 F.2d 615 (9th
 7      Cir. 1982) .............................................................................................................................. 16, 18
     Patel v. Nike Retail Servs., Inc., No. 14-CV-04781-RS, 2016 WL 1241777 (N.D. Cal. Mar.
 8      29, 2016) ..................................................................................................................................... 19
     Pole v. Estenson Logistics, LLC, No. CV 15-07196 DDP (EX), 2016 WL 4238635 (C.D.
 9      Cal. Aug. 10, 2016) .................................................................................................................... 13
     Posephny v. AMN Healthcare Inc., 2020 WL 13612298 (N.D. Cal., July 9, 2020, No. 18-
10      CV-06284-KAW) ................................................................................................................. 17, 22
     Satchell v. Fed. Express Corp., No. C 03 2878 SI, 2007 WL 1114010 (N.D. Cal. Apr. 13,
11      2007) ........................................................................................................................................... 15
     Sav-On Drug Stores, Inc. v. Superior Ct., 34 Cal. 4th 319 (2004) ..................................................12
12   Smith v. Lux Retail North America
        2013 WL 2932243 (N.D. Cal. June 13, 2013)............................................................................ 17
13   Smith v. Red Robin International
        No. 14CV01432 JAH-BGS, 2017 WL 1198907 (S.D. Cal., Mar. 31, 2017) ...................... passim
14   State of California v. eBay, Inc.
        No. 5:12-CV-05874-EJD, 2014 WL 4273888 (N.D. Cal. Aug. 29, 2014)................................. 14
15   Tijero v. Aaron Bros., Inc.
        301 F.R.D. 314 (N.D. Cal. 2013) ......................................................................................... 11, 12
16   Tyson Foods, Inc. v. Bouaphakeo
        577 U.S. 442 (2016) ................................................................................................................... 12
17   Valentino v. Carter-Wallace, Inc.
        97 F.3d 1227 (9th Cir. 1996) ...................................................................................................... 13
18   Vazquez v. Coast Valley Roofing, Inc.
        670 F. Supp. 2d 1114 (E.D. Cal. 2009) ...................................................................................... 16
19   Vizcaino v. Microsoft Corp.
        290 F.3d 1043 (9th Cir. 2002) ................................................................................................ 9, 15
20   Whiteway v. FedEx Kinko’s Off. & Print Servs., Inc.
        No. C 05-2320 SBA, 2006 WL 2642528 (N.D. Cal. Sept. 14, 2006) ........................................ 13
21
      Statutes
22    Cal. Bus. & Prof. Code § 17200, et seq. ...................................................................................... 1, 3
      Cal. Civ. Code § 1542 ...................................................................................................................... 7
23    Cal. Code Civ. Proc. § 382 ...................................................................................................... 10, 11
      Cal. Code Civ. Proc. § 384 .............................................................................................................. 6
24    Cal. Lab. Code §§ 201-203 .......................................................................................................... 1, 2
      Cal. Lab. Code § 218.5 ................................................................................................................ 1, 2
25    Cal. Lab. Code § 226 ................................................................................................................... 1, 3
      Cal. Lab. Code § 226.7 ................................................................................................................ 1, 2
26    Cal. Lab. Code § 510 ................................................................................................................... 1, 2
      Cal. Lab. Code § 512 ....................................................................................................................1, 2
27    Cal. Lab. Code § 1174.5 .............................................................................................................. 1, 3
      Cal. Lab. Code § 1175 ................................................................................................................. 1, 3
28
                                                                                iv
          MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                     APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
        Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 6 of 31



     Cal. Lab. Code § 1194 ................................................................................................................. 1, 2
 1   Cal. Lab. Code § 1198 ................................................................................................................. 1, 2
     Cal. Lab. Code § 2698 ..................................................................................................................... 1
 2   Cal. Lab. Code § 2699(a)(3) .......................................................................................................... 18
 3
     Rules
 4   California Rule of Court 3.766(e) .................................................................................................. 22
     California Rule of Court 3.769(d).................................................................................................. 10
 5   Fed. R. Civ. Proc. 23 ............................................................................................................... passim
 6
     Regulations
 7   IWC Wage Order No. 7-2001 ...................................................................................................... 1, 2
 8
                                                                                                                                          Page
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                           v
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
          Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 7 of 31




 1                                 NOTICE OF MOTION AND MOTION
 2 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3            PLEASE TAKE NOTICE that on January 5, 2024 at 9:30 a.m., or as soon thereafter as the
 4 matter may be heard, in Courtroom D of the above-entitled Court, Plaintiff STEVEN MILLER, on
 5 behalf of himself and others similarly situated (“Class Members”) will and hereby does move this
 6 Court for an order provisionally certifying the settlement class and preliminary approval of the class
 7 and PAGA settlement.
 8            This motion is based upon this Notice of Motion, the accompanying Memorandum of Points
 9 and Authorities, the Declaration of Rebecca Peterson-Fisher in Support of Motion for Order
10 Provisionally Certifying Settlement Class and Preliminarily Approving Class and PAGA Settlement
11 filed herewith, and oral argument on the motion.
12                         MEMORANDUM OF POINTS AND AUTHORITIES
13       I.   INTRODUCTION
14            Plaintiff Steven Miller seeks preliminary approval of a $3,200,000 class action and Private
15 Attorneys General Act (“PAGA”) representative action settlement on behalf Assistant Managers,
16 Kitchen Managers, and Assistant General Managers (“Salaried Managers” or “SMs”) who worked
17 at Red Robin restaurants in California, whom Plaintiff alleges were misclassified as exempt
18 employees. Red Robin is a national chain of burger restaurants which operates over 50 restaurants
19 in California. Decl. of Rebecca Peterson-Fisher in Support of Motion for Order Provisionally
20 Certifying Settlement Class and Preliminarily Approving Class and PAGA Settlement (“Peterson-
21 Fisher Decl.”) ¶ 21. The proposed settlement includes a class of 205 SMs who did not sign
22 arbitration agreements, 110 of whom are included in the PAGA settlement, and 47 SMs who signed
23 arbitration agreements but who are included in the PAGA settlement. Id. ¶ 20.
24            Plaintiff alleges that Red Robin misclassified Salaried Managers1 (“SMs”) as exempt and
25 unlawfully denied them overtime pay, meal breaks, and rest breaks in violation of California law.
26
27   1
      Referred to as Secondary Managers in the Complaint, and as Salaried Managers in the proposed
     First Amended Complaint.
28
                                                        1
          MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                     APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
           Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 8 of 31




 1 The Complaint alleges six causes of action: (1) Labor Code Sections 510 and 1194 and IWC Wage
 2 Order No. 5-2001 (unpaid overtime wages); (2) Labor Code Sections 218.5, 226.7, 512 and 1198,
 3 and IWC Wage Order No. 5-2001 (meal and rest periods); (3) Labor Code Sections 201-203 (unpaid
 4 earned wages upon discharge); (4) Labor Code Sections 226, 1175, and 1174.5 (wage statements);
 5 (5) Business and Professions Code Sections 17200, et seq. (“Unfair Competition Law” or “UCL”);
 6 and (6) Labor Code Sections 2698, et seq. (“Private Attorneys General Act” or “PAGA”). ECF No.
 7 1 (Complaint). SMs were also regularly required to use their personal vehicles for supply runs and
 8 deliveries without reimbursement. Peterson-Fisher Decl. ¶ 25. As part of the settlement, Plaintiff
 9 has filed concurrently herewith a First Amended Complaint that asserts a seventh cause of action
10 for violations of Labor Code § 2802. ECF No. 50 (Stipulated First Amended Complaint). Defendant
11 denies Plaintiff’s allegations and contends SMs are correctly classified as exempt under the
12 administrative and/or executive exemptions.
13             After several months of formal and informal discovery, the parties mediated with Todd A.
14 Smith, a prominent Los Angeles mediator, and agreed to settle the case for $3,200,000. Peterson-
15 Fisher Decl. ¶ 33, Ex. A (Settlement Agreement).2 The proposed settlement represents an excellent
16 result for the class and satisfies all of the criteria for preliminary approval. Plaintiff now moves
17 under Rule 23(e) of the Federal Rules of Civil Procedure for preliminary approval of the class action
18 settlement and conditional certification of a settlement class, and for approval of the PAGA
19 settlement on behalf of aggrieved employees. For all of the reasons set forth below, the settlement
20 is fair, reasonable, and adequate. Class members should be provided notice of the settlement and
21 an opportunity to object or request exclusion, and the Court should set a date for a Final Approval
22 hearing.
23       II.   OVERVIEW OF INVESTIGATION AND LITIGATION
24             Plaintiff Miller filed a PAGA letter with the Labor Workforce Development Agency
25 (“LWDA”) on February 7, 2022 on behalf of himself and all aggrieved current and former SMs.
26
27
     2
         All exhibits are to the Peterson-Fisher Declaration unless otherwise specified.
28
                                                         2
           MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                      APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
        Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 9 of 31




 1 Peterson-Fisher Decl. ¶ 23. On April 27, 2022, Plaintiff filed the Complaint in this matter. Id. at ¶
 2 24; ECF No. 1. The Complaint defined the proposed Class as “all current and former Assistant
 3 Managers, Assistant General Manager, and Kitchen Managers (collectively ‘Secondary Managers’)
 4 employed by Red Robin in California at any time between April 27, 2018 through the final
 5 disposition of this action,” and asserted six causes of action. ECF No. 1 at ¶ 24. At the initial case
 6 management conference on September 9, 2022, the parties agreed to private mediation. Peterson-
 7 Fisher Decl. ¶ 26. Shortly thereafter, a mediation was scheduled with mediator Todd Smith for May
 8 18, 2023. Id.
 9          A.     Discovery and Investigation
10          Between September 2022 and May 2023, Plaintiff conducted both formal and informal
11 discovery. Id. ¶ 27. Plaintiff served two sets of requests for production and two sets of
12 interrogatories on Defendant, seeking information and documents pertaining to both the merits of
13 his claims and to class certification. Id. Defendant produced over 5,000 pages of documents,
14 including job descriptions, handbooks, compensation policies, training documents, reference
15 materials, and memoranda. Id. Through written discovery, Plaintiff obtained critical documents
16 and Defendant’s positions on key isues, including Defendant’s policies regarding labor budgeting
17 and the impact of its decisions to eliminate the Busser and Expeditor positions in early 2018. Id.
18          Two rounds of BelAire-West notice were sent: the first on an opt-in basis to 10% of the
19 members of the class as originally pled (inclusive of individuals with arbitration agreements, based
20 on Defendant’s original class size estimate), and the second on an opt-out basis to another 10% of
21 the class as originally pled. Id. ¶ 28. Defendant produced detailed payroll data and, if applicable,
22 arbitration agreements, for class members who opted-in in the first round of BelAire-West notice or
23 who did not opt-out in the second round of BelAire-West notice. Id. Defendant also produced dates
24 of employment and compensation data for each pay period for every class member, the aggregate
25 number of workweeks for class members without arbitration agreements, and the aggregate number
26 of pay periods for class members with and without arbitration agreements employed during the
27 PAGA period. Id. Class Counsel conducted in-depth interviews with approximately three dozen
28
                                                       3
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 10 of 31




 1 members of the original proposed class, some of whom had arbitration agreements, and obtained
 2 seventeen declarations. Id. ¶ 29. Because most interviewees worked at multiple Red Robin
 3 locations, Plaintiff obtained detailed information regarding the working conditions for SMs at 54
 4 of Defendant’s California restaurants. Id., Ex. C (Sample Declarations).
 5          During the discovery period, Class Counsel learned of two class action settlements with

 6 overlapping class definitions: Bautista v. Red Robin International, Inc., San Joaquin County
 7 Superior Court Case NO. STK-cv-UOE-2018-2270 (“Bautista”) and Outlaw v. Red Robin
 8 International, Inc., Eastern District of New York Case No. 2:18-cv-03457-GRB-LGBD. Peterson-
 9 Fisher Decl. ¶ 30. The Bautista settlement released wage and hour claims for Kitchen Managers
10 employed by Red Robin in California between February 26, 2014 and February 17, 2019. Id. Ex.
11 D. For individuals who held multiple job titles during the Bautista class period, the settlement
12 released claims only for workweeks during which they worked as Kitchen Managers. Id. Ex. D §
13 I(E). The Outlaw settlement released state and federal wage and hour claims for 543 FLSA opt-in
14 plaintiffs nationwide, including some in California, for the period August 2, 2015 to March 31,
15 2020. Id. ¶ 31, Ex. G § 1.7.
16          B.     Proposed First Amended Complaint Class Definition

17          The proposed First Amended Complaint (“FAC”) filed herewith defines the Class more

18 narrowly than the original Complaint, based on Class Counsel’s consideration of the enforceability
19 of the arbitration agreements signed by numerous members of the original class and the releases of
20 claims by members of the original class who participated in the Bautista and Outlaw settlements.
21 Id. ¶¶ 37-39. The FAC defines the proposed Class as:
22          All employees who are currently or have been employed by Defendant in the State
            of California for workweeks during which those individuals work or worked as
23          Assistant General Managers (“AGMs”), Kitchen Managers (“KMs”), or Assistant
            Managers (“AMs”) (collectively, “Salaried Managers”) at any time from April 27,
24          2018 to September 30, 2023, excluding: (1) any workweeks any Salaried Managers
            who did not opt out of the settlement in Armando Bautista v. Red Robin
25          International, Inc., Case No. STK-CV-UOE-2018-0002270, Superior Court of the
            state of California, San Joaquin County (“Bautista”) worked as KMs during the
26          period between April 27, 2018 and February 17, 2019; and (2) any workweeks any
            Salaried Managers who consented to join a prior settlement in Outlaw v. Red Robin
27          International, Inc., Case No. 2:18-cv-04357, United States District Court for the
            Eastern District of New York (“Outlaw”) worked during the period between April
28
                                                     4
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 11 of 31



            27, 2018 and March 31, 2020; and (3) any Salaried Manager who signed an
 1          arbitration agreement with Defendant.
 2 ECF No.50 ¶ 24.
 3          C.     Settlement Negotiations
 4         On May 22, 2023, the Parties attended a full-day mediation session with Todd Smith, Esq., a
 5 well-known mediator with substantial experience in California wage and hour class actions.
 6 Peterson-Fisher Decl. ¶ 33. Although the Parties did not reach a settlement on the day of mediation,
 7 the Parties continued to discuss settlement and agreed to accept a mediator’s proposal to settle the
 8 case on or around June 12, 2022. Id. Over the following months, the Parties negotiated the
 9 remaining terms of settlement, and the Parties executed the proposed Settlement Agreement on
10 October 27, 2023. Id. At all times, settlement negotiations were conducted vigorously and on an
11 arm’s-length basis. Id. A copy of the fully-executed Settlement Agreement was filed with
12 California’s Labor and Workforce Development Agency on November 30, 2023, proof of
13 submission of which is attached to the Peterson-Fisher Declaration. Id. ¶ 34, Ex. K (LWDA
14 submission confirmation).
15 III.     SUMMARY OF SETTLEMENT TERMS
16          The full terms of the Settlement Agreement (“Agreement”) are set forth in Exhibit A to the
17 Peterson-Fisher declaration. The material terms of the Settlement are as follows.
18          A.     Definition of Settlement Class and Explanation for Differences Between
                   Settlement Class and Class Proposed in Complaint
19
            The Settlement Class is comprised of all employees who are currently or have been
20
     employed by Defendant in the State of California for workweeks during which those individuals
21
     work or worked as Assistant General Managers (“AGM”), Kitchen Managers (“KM”), or Assistant
22
     Managers (“AM”) (collectively, “Salaried Managers”) at any time during the Class Period (April
23
     27, 2018 to September 30, 2023), excluding: (1) any workweeks any Salaried Managers who did
24
     not opt out of the settlement in Armando Bautista v. Red Robin International, Inc., Case No. STK-
25
     CV-UOE-2018-0002270, Superior Court of the state of California, San Joaquin County (“Bautista”)
26
     worked as KMs during the period between April 27, 2018 and February 17, 2019; (2) any
27
     workweeks any Salaried Manager who consented to join a prior settlement in Outlaw v. Red Robin
28
                                                     5
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 12 of 31




 1 International, Inc., Case No. 2:18-cv-04357, United States District Court for the Eastern District of
 2 New York (“Outlaw”) worked during the period between April 27, 2018 and March 31, 2020; and
 3 (3) any Salaried Manager who signed an arbitration agreement with Defendant. Ex. A § 1(E).
 4          There are two key differences between the Settlement Class and the original proposed Class:
 5 (1) the Settlement Class excludes SMs with arbitration agreements, and (2) the Settlement Class
 6 excludes workweeks for which claims have already been released pursuant to the Bautista and
 7 Outlaw settlements. With respect to the exclusion of the individuals with arbitration agreements,
 8 Defendants produced arbitration agreements pursuant to the BelAire-West process. Peterson-Fisher
 9 Decl. ¶ 38, Ex. L (Exemplar Arbitration Agreement). Class Counsel analyzed those agreements
10 and concluded that Defendants would likely be successful in excluding individuals with arbitration
11 agreements at the class certification stage. Id. ¶ 38. Class Counsel also reviewed the settlement
12 documents in Bautista and Outlaw and explored the possibility of filing a Rule 60 motion in Outlaw
13 with an appellate specialist. Id. ¶ 39. Ultimately, Class Counsel concluded that the likelihood of
14 success on such a motion was low, and the delay it would entail was not in the interests of the class.
15 Id. For those reasons, Plaintiff agreed to exclude already-released workweeks and SMs with
16 arbitration agreements from the Settlement Class, and defined the proposed Class in the FAC as
17 identical to the Settlement Class. Id. ¶¶ 37-39.
18          B.      Settlement Fund
19         The Settlement Agreement creates a non-reversionary common fund of $3,200,000 to settle
20 claims against Defendant (“Gross Settlement Amount”). Id. ¶ 40, Ex. A § 1(Q). The Gross
21 Settlement Amount covers Class Members’ settlement awards, Plaintiff’s service award, attorneys’
22 fees and costs, the Settlement Claims Administrator’s fees and costs, and all amounts to be paid to
23 the LWDA. Id. The Gross Settlement Amount does not include the employer’s share of payroll
24 taxes, which shall be paid separately from the Gross Settlement Amount by Defendant. Id. Neither
25 Class Members nor PAGA Members are required to make a claim or take any action in order to
26 receive their individual settlement share if they do not opt out. If a Class Member does not sign and
27 cash their Settlement Check within 180 days from the date checks are issued (“Acceptance Period”),
28
                                                       6
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 13 of 31




 1 the funds will be tendered to the to the California State Controller’s Office’s Unclaimed Property
 2 Division in the name of that Participating Class Member. Id. § 11(A).
 3                  1.     Comparison of Gross Settlement Amount to Maximum Theoretical
                           Recovery
 4
            The gross settlement amount represents 10.3% of the maximum theoretical recovery,
 5
     assessed by Plaintiff as approximately $31 million ($30,987,315). Peterson-Fisher Decl. ¶ 56.
 6
     Plaintiff’s analysis of the maximum theoretical recovery was based on the assumptions that Class
 7
     Members worked 15 overtime hours per week and 1 double-time hour per week and had 10 missed
 8
     rest periods and 30 unreimbursed miles driven per week, that the Court would stack PAGA penalties,
 9
     and that PAGA penalties were recoverable at the subsequent-violation rate. Id.
10
            C.      Allocation Formula
11
            Individual Settlement Shares will be determined on a pro rata basis according to the
12
     number of workweeks each Class Member worked during the Class Period and each PAGA
13
     Member worked during the PAGA period. Id. ¶ 40, Ex. A § 10. The Settlement Administrator
14
     will determine the total number of workweeks worked by each Settlement Class Member and each
15
     PAGA Member during the relevant time periods based on information provided by Defendant.
16
     Id. § 10(A). Class Members may challenge the number of workweeks used to calculate their
17
     Settlement Awards by contacting the Settlement Claims Administrator. Id. § 9(A)(10). The
18
     average settlement award per class member, excluding PAGA payments, is estimated to be
19
     $11,105. Peterson-Fisher Decl. ¶ 20.
20
            D.      Tax Characterization
21
            For tax purposes, thirty-four percent (34%) of Class Members’ Settlement Award will be
22
     treated as back wages subject to normal tax withholdings and will be reported to taxing authorities
23
     on an IRS Form W-2. Id. ¶ 41, Ex. A § 14. Thirty-three percent (33%) will be treated as alleged
24
     interest (to be reported on an IRS Form 1099), and thirty-three percent (33%) as alleged civil and
25
     statutory penalties (to be reported on an IRS Form 1099). Id. Each Individual PAGA Payment shall
26
     be allocated entirely as penalties. Id. This allocation is proper because it approximates the
27
     proportion of Class Members’ total potential recovery that is due to wages versus penalties and/or
28
                                                      7
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
         Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 14 of 31




 1 interest. Id. ¶ 41. Defendant will be responsible for all state and federal payroll taxes, including the
 2 employer’s share of the FICA tax and any federal and state unemployment tax due, with respect to
 3 the amounts treated as wages. Id. Ex. A § 1(Q).
 4          E.      Scope of Release and Relationship to Complaint
 5          The release of claims includes all claims alleged or which could have been alleged in
 6 “Plaintiff’s Operative Complaint,” defined as the FAC filed concurrently herewith. Id. ¶ 42, Ex. A
 7 § 7(A). The claims in the FAC are identical to those in the original Complaint, with the addition of
 8 Labor Code § 2802 claims. Id. Plaintiff analyzed the potential recovery for class members’ Labor
 9 Code § 2802 claims (along with the claims alleged in the Complaint), and the Gross Settlement
10 Amount includes the reasonable settlement value of those claims. Id. The Settlement Agreement
11 does not include a waiver under California Civil Code Section 1542 for Settlement Class Members,
12 however, it includes a mutual general release and Section 1542 waiver for the Named Plaintiff. Ex.
13 A § 7(D).
14          F.      PAGA Allocation
15          The Settlement Agreement allocates $100,000 to Plaintiff’s PAGA claims, which represents
16 approximately 3.1% of the Gross Settlement Amount. Peterson-Fisher Decl. ¶ 65; Ex. A § 15. Of
17 this amount, $75,000 will be paid to the LWDA. Id.
18          G.      Attorneys’ Fees and Litigation Costs; Class Representative Service Awards
19          At the Fairness Hearing, Class Counsel will apply for up to 25% of the Gross Settlement
20 Amount (up to $800,000) as attorneys’ fees. Id. ¶ 45; Ex. A § 12. This request is consistent with
21 Class Counsel’s retainer with the Named Plaintiff, which provides that Class Counsel may apply for
22 up to 33 1/3% of any class settlement as attorneys’ fees.3 Id.
23
24   3
     Until September 9, 2023, Plaintiff was represented by Rebecca Peterson-Fisher, Jennifer Liu,
   and C. Leah Kennedy of Liu Peterson-Fisher LLP. On September 9, 2023, Ms. Peterson-Fisher,
25 Ms. Liu, and Ms. Kennedy joined the firm Katz Banks Kumin LLP, and Liu Peterson-Fisher LLP
   ceased practicing law. Plaintiff consented to the change of counsel. Plaintiff will seek attorneys’
26 fees payable to Katz Banks Kumin, to be divided between Katz Banks Kumin LLP, and Liu
   Peterson-Fisher LLP on a pro rata basis based on Class Counsel’s work on this matter with both
27 firms. Peterson-Fisher Decl. ¶ 45.
28
                                                        8
         MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                    APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 15 of 31




 1         The requested percentage of fees is in line with the Ninth Circuit’s 25% benchmark for

 2 common fund cases. See Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1047 (9th Cir. 2002) (noting
 3 the Ninth Circuit’s 25% “benchmark” percentage).             The lodestar cross-check confirms the

 4 reasonableness of the fees Plaintiff’s Counsel will request. Id. at 1050 (lodestar calculations provide
 5 a check on the reasonableness of a percentage award). Class Counsel’s lodestar to date is
 6 approximately $415,000, and Class Counsel estimates it will increase by about $50,000 by the time
 7 of final judgment in this case due to time spent communicating with class members, additional
 8 motion practice, and settlement administration monitoring. Peterson-Fisher Decl. ¶ 45, Ex. M. The
 9 attorneys’ fees requested are anticipated to result in a moderate 1.72 multiplier, which is justified
10 by the excellent result for the Class. Id. Additionally, Class Counsel will seek reimbursement from
11 the Gross Settlement Amount of their actual litigation costs and expenses, currently estimated to be
12 $12,000. Id. ¶ 46, Ex. A § 12.
13          Plaintiff will also move for Court approval of a Service Award of $10,000 to Named Plaintiff
14 Steven Miller in recognition of (1) the services he rendered on behalf of the Class, and (2) the release
15 he is agreeing to in the Settlement, which is broader than those of other Class Members. Id. ¶ 47,
16 Ex. A § 13. This enhancement is reasonable in view of the time and effort spent, and the risks
17 undertaken, by the Named Plaintiff. Id. Ex. N. (Steven Miller Declaration).
18          H.      Settlement Claims Administrator

19          The Settlement Claims Administrator will be Rust Consulting, Inc. (“Rust”), which Class

20 Counsel selected and Defendant approved. Id. ¶ 48. The Settlement Claims Administrator’s fees
21 will be paid from the Gross Settlement Amount. Ex. A § 1(Q). A declaration from Rust regarding
22 its qualifications to perform the duties of Settlement Claims Administrator is submitted herewith.
23 Id. ¶ 50, Ex. O (Andrew Meyer Declaration). Class Counsel obtained competing quotes from CPT
24 and Simpluris, and concluded Rust offered the best value, with a not-to-exceed quote of $11,500.
25 Peterson-Fisher Decl. ¶ 48. The cost of settlement administration is less than 1% of the gross the
26 settlement amount, and is reasonable in light of the multiple forms of notice to be provided and the
27 number of class members. Class Counsel previously engaged Rust for both rounds of BelAire-West
28
                                                        9
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 16 of 31




 1 notice in this case, which Rust accomplished competently, and has engaged Rust in other matters.
 2 Peterson-Fisher Decl. ¶ 49. Rust is a well-established class action settlement administrator and
 3 has substantial experience administrating wage and hour class action settlements and appropriate
 4 security controls. Id. ¶¶ 49-50, Exs. O, Q.
 5          I.      Settlement Approval and Administration Schedule

 6         A detailed schedule of the relevant dates and deadlines specified in the Settlement Agreement

 7 is set forth in the Peterson-Fisher Declaration at paragraph 52 and in the Proposed Order filed
 8 herewith. The period to opt-out or object is 45 days. Id., Ex. A § 1(PP). Pursuant to the Class
 9 Action Fairness Act, 28 U.S.C. § 1711 et seq., Defendants will provide notice to the appropriate
10 federal and state officials within ten days of the filing of this motion. Id. ¶ 35.
11 IV.      ARGUMENT
12          A.      Certification of the Settlement Class Is Appropriate
13          Plaintiff seeks an order granting preliminary approval of the settlement and authorizing notice
14 to the class pursuant to Rule 23(e)(1)(B)(ii), which requires Plaintiff to demonstrate that certification
15 of a settlement class is “likely.” This action meets the requirements for class certification under
16 Rule 23(a) and 23(b)(3), and certification of a settlement class is thus likely.
17                  1.      Numerosity
18          The numerosity requirement is satisfied when the “class is so numerous that joinder of all

19 members is impracticable.” Fed. R. Civ. P. 23(a)(1). “While there is no set number that satisfies
20 the requirement, as a general matter, a class greater than forty often satisfies the requirement, while
21 one less than twenty-one does not.” Greko v. Diesel U.S.A., Inc., 277 F.R.D. 419, 425 (N.D. Cal.
22 2011). In this case, numerosity exists because there are 205 people in the Settlement Class.
23 Peterson-Fisher Decl. ¶ 20; see A. B. v. Hawaii State Department of Education, 30 F.4th 828, 835-
24 36 (9th Cir. 2022).
25                  2.      Commonality
26          Rule 23(a)(2) requires a showing of “questions of law or fact common to the class.” The

27 existence of a question of law or fact that “resolves a central issue” is sufficient to establish
28
                                                        10
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 17 of 31




 1 commonality. Castillo v. Bank of America, NA, 980 F.3d 723, 728 (9th Cir. 2020). Where it is
 2 alleged that all class members were subject to a common, unlawful practice, the requirement is
 3 satisfied. Jacob v. Pride Transp., Inc., No. 16-CV-06781-BLF, 2018 WL 1411136, at *3 (N.D. Cal.
 4 Mar. 21, 2018). Here, whether or not SMs were properly classified as exempt is the central issue
 5 common to all class members. See Tijero v. Aaron Bros., Inc., 301 F.R.D. 314, 321 (N.D. Cal.
 6 2013). Other issues common to the class include whether Defendant failed to pay overtime wages
 7 for all hours worked, failed to provide meal and rest breaks in accordance with California law,
 8 systematically failed to provide accurate and itemized wages statements, and failed to reimburse
 9 necessary business expenses.
10                 3.      Typicality
11          Rule 23(a)(3)’s typicality requirement is satisfied if the named Plaintiff’s claims are
12 “reasonably co-extensive with those of absent class members; they need not be substantially
13 identical.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998). Plaintiff Miller alleges
14 he was misclassified as exempt while working for Red Robin restaurants as a Kitchen Manager and
15 as an Assistant General Manager. Plaintiff Miller spent the substantial majority of his time
16 performing non-managerial tasks that were the same as the duties performed by non-exempt workers
17 and thus did not meet the quantitative test for the administrative exemption or executive exemption.
18 Peterson-Fisher Decl. ¶ 21. As a result of his misclassification, he was not provided with meal or
19 rest breaks and he was not paid overtime premium pay for overtime hours. Id. As such, his claims
20 are reasonably co-extensive with those of other Class Members in the same or similar job titles.
21                 4.      Adequate Representation
22          Rule 23(a)(4) requires a finding that “the representative parties will fairly and adequately
23 protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). The assessment of whether represention
24 is adequate “‘depends on the qualifications of counsel for the representatives, an absence of
25 antagonism, a sharing of interests between representatives and absentees, and the unlikelihood that
26 the suit is collusive.’” Crawford v. Honig, 37 F.3d 485, 487 (9th Cir. 1994), as amended on denial
27 of reh’g (Jan. 6, 1995) (quoting Brown v. Ticor Title Ins. Co., 982 F.2d 386, 390 (9th
28
                                                     11
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 18 of 31




 1 Cir.1992) (quotation omitted), cert. denied, 511 U.S. 117 (1994)). Lead counsel in this matter have
 2 over twenty years of combined experience litigating class actions and have been appointed class
 3 counsel in numerous other matters.         Peterson-Fisher Decl. ¶¶ 1-19.      Their experience and
 4 qualifications are set forth in detail in the Peterson-Fisher Declaration. Id. Plaintiff’s counsel have
 5 vigourously represented the class to date, and will continue to adequately represent the class.
 6 Hanlon, 150 F.3d at 1020 (adequacy requires that counsel will “prosecute the action vigorously on
 7 behalf of the class.”). Furthermore, the settlement negotiation in this matter was not collusive, and
 8 utilized a neutral mediator. In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 948 (9th Cir.
 9 2011) (noting that the presence of a neutral mediator is “a factor weighing in favor of a finding of
10 non-collusiveness”). Finally, there is no antagonism or conflict of interest between Miller and the
11 absent class members, who were employed in the same or similar job titles and were subjected to
12 the same unlawful policies and practice stemming from Red Robin’s misclassification of SMs as
13 exempt. Peterson-Fisher Decl. ¶ 22; see Tijero, 301 F.R.D. at 322.
14                  5.     Predominance of Common Questions
15          The predominance inquiry focuses on whether “‘a proposed class is ‘sufficiently cohesive
16 to warrant adjudication by representation.’” Castillo v. Bank of America, NA, 980 F.3d at 730
17 (quoting Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 469 (2013). Rule 23(b)’s
18 predominance requirement most often determines whether certification is granted in
19 misclassification cases. It is satisfied when “the common, aggregation-enabling, issues in the case
20 are more prevalent or important than the non-common, aggregation-defeating, individual issues.”
21 Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016) (citation omitted). Class certification
22 in a misclassification case is appropriate where there are “centralized rules . . . suggest[ing] a
23 uniformity among employees that is susceptible to common proof.” In re Wells Fargo Home Mortg.
24 Overtime Pay Litigation, 571 F.3d 953, 958-59 (9th Cir. 2009). This is so because the uniformity
25 of job duties and the existence of corporate policies that control how those duties are performed
26 render the employer’s “realistic expectations” and the actual requirements of the job susceptible to
27 common proof. See Duran v. U.S. Bank Nat’l Assn., 59 Cal. 4th 1, 26 (2014); Sav-On Drug Stores,
28
                                                      12
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
         Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 19 of 31




 1 Inc. v. Superior Ct., 34 Cal. 4th 319, 336 (2004). California courts and federal courts have certified
 2 numerous classes of employees in misclassification cases to address the exact sort of class-wide
 3 liability issues at the heart of this case. 4
 4            Plaintiff alleges that Red Robin’s exercise of centralized control over SMs and
 5 implementation of common policies which impact that time SMs spent on nonexempt tasks render
 6 the issue on which liability turns, misclassification, subject to common proof. See Damassia v.
 7 Duane Reade, Inc., 250 F.R.D. 152, 160 (S.D.N.Y. 2008) (“Where . . . there is evidence that the
 8 duties of the job are largely defined by comprehensive corporate procedures and policies, district
 9 courts have routinely certified classes of employees challenging their classification as exempt[.]”).
10 Plaintiff’s Labor Code, UCL, and PAGA claims are all predicated on Defendant’s alleged
11 misclassification of Plaintiff and Class Members as exempt, and therefore raise the same common
12 questions of law and fact. Because the common question of misclassification is the “central focus”
13 of this action and can be resolved in a single adjudication, the predominance requirement is satisfied.
14 See In re Linkedin User Privacy Litigation, 309 F.R.D. 573, 585 (N.D. Cal. 2015).
15                   6.      Superiority
16            “Where classwide litigation of common issues will reduce litigation costs and promote
17 greater efficiency, a class action may be superior to other methods of litigation.” Valentino v. Carter-
18 Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996). The alternative to a class action in this case
19 would be for each of the 205 class members to file individual wage and hour lawsuits, even though
20 some may have less than ten thousand dollars in damages. Such an approach would needlessly
21
22
     4
         See, e.g. Pole v. Estenson Logistics, LLC, No. CV 15-07196 DDP (EX), 2016 WL 4238635
23 (C.D. Cal. Aug. 10, 2016) (executive exemption misclassification); Martino v. Ecolab, Inc., No.
     14-CV-04358-PSG, 2016 WL 614477 (N.D. Cal. Feb. 16, 2016) (outside sales exemption
24 misclassification); Martinez v. Joe’s Crab Shack Holdings, 231 Cal. App. 4th 362 (2014), as
     modified on denial of reh’g (Dec. 3, 2014) (executive exemption misclassification); Greko, 277
25 F.R.D. (executive exemption misclassification); Cruz v. Dollar Tree Stores, Inc., No. 07-2050 SC,
     2009 WL 1458032 (N.D. Cal. May 26, 2009), modified in part, 270 F.R.D. 499 (N.D. Cal. 2010)
26 (executive exemption misclassification); Whiteway v. FedEx Kinko’s Off. & Print Servs., Inc., No.
     C 05-2320 SBA, 2006 WL 2642528 (N.D. Cal. Sept. 14, 2006) (executive exemption
27 misclassification).
28
                                                       13
          MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                     APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 20 of 31




 1 consume judicial resources when Red Robin’s centralized control and common policies make it
 2 possible adjudicate the misclassification claims together. See Lerwill v. Inflight Motion Pictures,
 3 Inc., 582 F.2d 507, 512 (certifying class and noting that individual overtime actions would be
 4 expensive and time-consuming). Moreover, in the wage and hour context, where individual
 5 employees’ fear of retaliation may deter them from filing their claims, class actions are preferred.
 6 De Leon v. Ricoh USA, Inc., No. 18-CV-03725-JSC, 2019 WL 6311379, at *8 (N.D. Cal. Nov. 25,
 7 2019)
 8          The other factors listed in Rule 23(b)(3) likewise weigh in favor of a finding of superiority.
 9 Those factors are: “(A) the class members’ interests in individually controlling the prosecution or
10 defense of separate actions; (B) the extent and nature of any litigation concerning the controversy
11 already begun by or against class members; (C) the desirability or undesirability of concentrating
12 the litigation of the claims in the particular forum; and (D) the likely difficulties in managing a class
13 action.” Fed. R. Civ. P. 23(b)(3). There is no evidence of class members’ interest in individually
14 controlling separate actions, and no overlapping pending litigation. Moreover, any class member
15 who wishes to pursue claims individually can opt out of the Settlement. This district is a desirable
16 forum, because all of the relevant Red Robin locations are in the State of California. Finally,
17 manageability is not a relevant consideration in the settlement context. Amchem Prod., Inc. v.
18 Windsor, 521 U.S. 591, 620 (1997).
19          B.      The Settlement Meets the Requirements for Preliminary Approval
20          Approval of a class action settlement should be granted if the settlement is fair, reasonable,
21 and adequate. Nat’l Rural Telecommunications Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 525 (C.D.
22 Cal. 2004). Preliminary approval should be granted “if the proposed settlement appears to be the
23 product of serious, informed, non-collusive negotiations, has no obvious deficiencies, does not
24 impropertly grant preferential treatment to class representatives or segments of the class, and falls
25 within the range of possible approval.” State of California v. eBay, Inc., No. 5:12-CV-05874-EJD,
26 2014 WL 4273888, at *5 (N.D. Cal. Aug. 29, 2014) (internal quotations omitted); Nen Thio v. Genji,
27 LLC, 14 F. Supp. 3d 1324, 1333 (N.D. Cal. 2014). Each of these factors weighs in favor of
28
                                                        14
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 21 of 31




 1 preliminary approval here.
 2                  1.       The Settlement Is the Product of Serious, Informed, Non-Collusive
                             Negotiations
 3
           The proposed settlement is the result of extensive arms-length negotiations informed by
 4
     substantial investigation and discovery and careful evaluation of the risks of litigation. The non-
 5
     collusive nature of the settlement is supported by the fact that the Parties mediated with Todd Smith,
 6
     Esq., an experienced wage and hour class action mediator. See Satchell v. Fed. Express Corp., No.
 7
     C 03 2878 SI, 2007 WL 1114010, at *4 (N.D. Cal. Apr. 13, 2007). This factor therefore supports
 8
     preliminary approval.
 9
                    2.       The Settlement Has No Obvious Deficiencies
10
            The proposed settlement has no obvious deficiencies. Courts typically examine the scope
11
     of release, the length of the opt-out and objection period, and the amount sought in attorneys’ fees
12
     to determine whether obvious deficiencies are present. Here, the scope of the release is properly
13
     limited to only wage and hour claims that were pleaded or could have been pleaded in the proposed
14
     First Amended Complaint. Nen Thio, 14 F. Supp. 3d at 1334 (scope of release proper where limited
15
     to those based on facts set forth in First Amended Complaint) (citing cases). The reponse deadline
16
     to object or opt-out, 45 days from the mailing of the notice, is consistent with this District’s
17
     Procedural Guidance for Class Action Settlements requiring a minimum of 35 days. Nen Thio, 14
18
     F. Supp. 3d at 1332-33 (approving response deadline of 45 days to submit claim, opt-out, or object).
19
     Plaintiff’s counsel’s request for attorneys’ fees of 25% of the common fund is in line with the Ninth
20
     Circuit’s benchmark for attorneys’ fees in class action settlements. See Vizcaino, 290 F.3d at 1047.
21
     Further, the settlement is non-reversionary, and all unclaimed funds will be tendered to the to the
22
     California State Controller’s Office’s Unclaimed Property Division in the name of the Participating
23
     Class Member to whom the check was payable. Peterson-Fisher Decl. ¶ 54.
24
                    3.       The Settlement Does Not Improperly Grant Preferential Treatment to
25                           Class Representatives or Segements of the Class
26          The proposed settlement does not grant preferential treatment to the Class Representative or
27 to segments of the class. Id. ¶ 55. The allocation formula provides all Class Members with a pro
28
                                                       15
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 22 of 31




 1 rata share of the settlement based on the number of workweeks each of them worked as an SM
 2 during the class period. Id. This formula accounts for the fact that Class Members who worked
 3 longer periods of time had more unpaid overtime and missed meal and rest breaks, and ensures the
 4 settlement distribution is proportional to the actual value of each Class Member’s claim. Id. The
 5 proposed $10,000 service award to the Named Plaintiff is in line with service awards in similar
 6 cases, and it is settled law that service awards to named plaintiffs do not render a settlement unfair
 7 or unreasonable. Nen Thio, 14 F. Supp. 3d at 1335. The absence of any preferential treatment to
 8 the Named Plaintiff or segments of the Class weighs in favor of preliminary approval.
 9                  4.     The Settlement Falls Within the Range of Possible Approval
10          The proposed settlement falls within the range of possible approval. Courts evaluate this
11 criterion by comparing the plaintiffs’ expected recovery to the value of the settlement offer. Vazquez
12 v. Coast Valley Roofing, Inc., 670 F. Supp. 2d 1114, 1125 (E.D. Cal. 2009). Even if a cash settlement
13 amounts to only a “fraction of the potential recovery,” that does not in itself render the settlement
14 inadequate or unfair. Officers for Just. v. Civ. Serv. Comm'n of City & Cnty. of San Francisco, 688
15 F.2d 615, 628 (9th Cir. 1982). Here, by Plaintiff’s estimation, the proposed settlement represents
16 10.3% of the total theoretical maximum recovery. Peterson-Fisher Decl. ¶ 56. This percentage of
17 total recovery is within the range courts in this district have found to be fair and reasonable. See
18 Bellinghausen v. Tractor Supply Co., 306 F.R.D. 245, 256 (N.D. Cal. 2015) (approving settlement
19 where common fund was between 27 percent and 11 percent of the total potential recovery); Deaver
20 v. Compass Bank, No. 13-CV-00222-JSC, 2015 WL 8526982, at *7 (N.D. Cal. Dec. 11, 2015)
21 (approving settlement that was 10.7 percent of total potential liability exposure).
22          C.      Class Recovery Compared with Maximum Theoretical Recovery and
                    Explanation of Discounts
23
            Class Counsel assessed the maximum theoretical recovery at approximately $31, million,
24
     disaggregated by claim in chart form in paragraph 56 of the Peterson-Fisher Declaration. Class
25
     Counsel evaluated the settlement offered as reasonable based on the substantial risks of losing on a
26
     motion for class certification and on the merits. Peterson-Fisher Decl. ¶ 57-58. In 2017, Red Robin
27
     defeated a motion for class certification on behalf of a similar class of allegedly misclassified
28
                                                      16
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 23 of 31




 1 “Intermediate Managers” in Smith v. Red Robin International, No. 14CV01432 JAH-BGS, 2017
 2 WL 1198907 (S.D. Cal., Mar. 31, 2017); Peterson-Fisher Decl. Ex. J. Since that time, Defendant
 3 has eliminated the Busser and Expeditor positions, which strengthens Plaintiff’s case, but all of the
 4 other challenges to class certification the Smith plaintiffs faced remain. Id. ¶ 57. Further, it is well
 5 established that Labor Code exemptions they typically require an individualized, fact-intensive
 6 inquiry. While certain factors and common policies in this case supported class certification –
 7 specifically, the elimination of the busser and expeditor positions – Plaintiff faced all of the same
 8 barriers to certification that are present in misclassification cases generally. Id.
 9          Class Counsel evaluated the probability of losing on the merits as substantial as well. Id. ¶
10 58. Plaintiff would argue that certain tasks Defendant considered managerial, including scheduling
11 employees, assigning them to areas for their shifts, and ordering supplies, were so rote that they
12 should be classified as exempt. Id. But Defendant would undoubtedly characterize these activities
13 as requiring discretion and independent judgment to evalute the operational needs of the restaurant
14 and the strengths and weaknesses of employees and make decisions accordingly. Id. Further,
15 though all of Plaintiff’s declarants alleged they spent the substantial majority of their time
16 performing the same work as hourly employees, see generally Ex. C, Defendant could argue they
17 performed at least some of those tasks for managerial purposes and support their argument with
18 their own declarations. Id. ¶ 58. In support of the executive exemption, Defendant could
19 successfully argue that SMs customarily and regularly directed the work for two or more employees
20 because they assigned staff to tasks and restaurant stations, counseled them, and issued writeups.
21 Id. Further, Defendant would argue that SMs’ recommendations for hiring, firing, and promotion
22 were given “particular weight.” Id.
23          Finally, Class Counsel assessed their probability of recovering the full amount of the
24 maximum theoretical PAGA penalties, approximately $7 million, as low. Peterson-Fisher Decl. ¶
25 59. It is uncertain whether the Court would find stacking PAGA penalties permissible. Posephny
26 v. AMN Healthcare Inc., 2020 WL 13612298, at *3 (N.D. Cal., July 9, 2020, No. 18-CV-06284-
27 KAW); Smith v. Lux Retail North America, 2013 WL 2932243, *4 (N.D. Cal. June 13, 2013).
28
                                                       17
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 24 of 31




 1 Moreover, some courts have held that subsequent violation amounts are available only after the
 2 employer is on notice of an initial violation. E.g., Amaral v. Cintas Corp. No. 2, 163 Cal.App.4th
 3 1157, 1209 (2008). Without stacking, Defendant’s PAGA exposure would be only $5.6 million.
 4 Peterson-Fisher Decl. ¶ 59. Without subsequent penalties, Defendant’s total PAGA exposure would
 5 be only $62,400. Id. In each scenario, the Court could also exercise its discretion under Labor Code
 6 § 2699(e)(2) to further reduce any PAGA awards.
 7           D.     The Settlement Meets the Requirements for Final Approval
 8           Final approval should be granted where the proposed settlement is fundamentally fair,
 9 adequate, and reasonable. Churchill Vill., L.L.C. v. Gen. Elec., 361 F.3d 566, 576 (9th Cir. 2004).
10 Courts bear in mind that settlement is the preferred method of dispute resolution, particularly for
11 complex class actions. Officers for Justice, 688 F.2d at 625. Because the outcome of litigation is
12 always uncertain, the court’s determination is necessarily “an amalgam of delicate balancing, gross
13 approximations and rough justice.” Id. (citation omitted). In the Ninth Circuit, the primary factors
14 considered to evaluate whether a class action settlement should be approved are: (1) the strength of
15 the plaintiff’s case;(2) the risk, expense, complexity, and likely duration of further litigation; (3) the
16 risk of maintaining class action status throughout the trial; (4) the amount offered in settlement; (5)
17 the extent of discovery completed and the stage of the proceedings; (6) the experience and view of
18 counsel; (7) the presence of a governmental participant; and(8) the reaction of the class members to
19 the proposed settlement. Id.; Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1242 (9th Cir.1998)
20 (citation omitted); see also Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir.1998) (citation
21 omitted). No single factor is dispositive, and the relative importance of each factor depends on the
22 nature of the case. Officers for Justice, 688 F.2d at 625.
23                  1.      The Strength of the Plaintiff’s Case
24          Although Class Counsel believe Plaintiff has a strong case, they recognize the risks involved
25 in continuing litigation, including the risks of class certification being denied, losing on the merits
26 of their claims, and proving damages. Peterson-Fisher Decl. ¶ 60. While employers have the burden
27 of proving that an exemption applies, the plaintiff in a class action misclassification case must
28
                                                        18
         MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                    APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 25 of 31




 1 demonstrate that liability can be determined based on common proof. Marlo v. United Parcel Serv.,
 2 Inc., 639 F.3d 942, 948 (9th Cir. 2011). Plaintiff can demonstrate centralized control and common
 3 policies with regard to labor budgeting, opening and closing tasks, documentation policies, and food
 4 preparation and storage policies. Peterson-Fisher Decl. ¶ 60. But the existence of centralized
 5 control and uniform policies and procedures “does not eliminate the need to make a factual
 6 determination as to whether class members are actually performing similar duties.” Id. (quoting In
 7 re Wells Fargo Home Mortg. Overtime Pay Litig., 571 F.3d at 959). A class action plaintiff must
 8 further demonstrate that those uniform policies and procedures constrained how class members
 9 spent their time, such that there is common proof that over 50% of employees’ time was spent on
10 nonexempt activities. Greko v. Diesel U.S.A., Inc., 277 F.R.D. 419, 427 (N.D. Cal. 2011). Where
11 there is significant variation between locations with regard to employees’ day-to-day activities based
12 on store needs, courts have found that the apportionment of time between exempt and nonexempt
13 tasks depends on individualized inquiry and have denied class certification. E.g., Mies v. Sephora,
14 U.S.A., 234 Cal. App. 4th 967, 982-84 (2015). The same is true when employees exercise different
15 levels of discretion depending on particularities of their store environments and general managers.
16 Patel v. Nike Retail Servs., Inc., No. 14-CV-04781-RS, 2016 WL 1241777, at *9 (N.D. Cal. Mar.
17 29, 2016) (denying class certification where testimony established differing levels of discretionary
18 decision-making across locations depending on Head Coach management styles). For those reasons,
19 “it is well established [that]….Labor Code exemptions often ‘militate against certification’ because
20 they typically require an individualized, fact-intensive inquiry.” Id. at *7 (citation omitted).
21         Plaintiff’s class members declarations establish that SMs performed common tasks across
22 stores, including filling in for hourly employees due to chronic understaffing. Peterson-Fisher Decl.
23 ¶ 60. However, Defendant will argue that individualized inquiries predominate in this case not only
24 because SMs spend different amounts of time on various duties according to store needs, but also
25 because identical tasks can be exempt or nonexempt depending on the purpose for which they are
26 performed. Id. Thus, Defendant could argue that even as to tasks that are also performed by
27 nonexempt employees, individualized inquiry as to why SMs performed those tasks at any given
28
                                                       19
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 26 of 31




 1 time will be required. Id.; Heyen v. Safeway Inc., 216 Cal. App. 4th 795, 826 (2013) (“If a task is
 2 performed because it is ‘helpful in supervising the employees or contribute[s] to the smooth
 3 functioning of the department for which [the supervisors] are responsible’ (§ 541.108(a), (c)), the
 4 work is exempt; if not, it is nonexempt.” (citation omitted). Defendant will undoubtedly contend
 5 that not all of its restaurants were understaffed, and that even if they were, the problem of
 6 understaffing does not by itself establish what tasks SMs performed or why on any given day.
 7 Peterson-Fisher Decl. ¶ 60. In Smith v. Red Robin International, Defendant successfully defeated a
 8 motion for class certification, and it is uncertain whether Plaintiff would be able to differentiate this
 9 case enough to obtain a different result. Peterson-Fisher Decl. ¶ 48, Ex. J; Smith v. Red Robin
10 International, 2017 WL 1198907.
11          Plaintiff faced a substantial risk of losing on the merits of his claims for the same reasons.
12 Id. ¶ 61. If Defendant successfully argued that many of the tasks Plaintiff contends constitute
13 nonexempt work in fact required discretion and independent judgment, including scheduling,
14 ordering, and assigning staff during shifts, Plaintiff could end up with no recovery at all for him or
15 the Class. Id. While Class Counsel believes Plaintiff could have ultimately won on the merits of
16 their claims at trial, they also recognizes the significant risk of losing. Id. And even if Plaintiff
17 prevailed on the merits, he still faced obstacles to proving the extent of damages. Id. Due to
18 Defendant’s practice of classifying SMs as exempt employees, Defendant never tracked the amount
19 of time Plaintiff and Class Members worked each day, and Plaintiff and Class Members were not
20 required to keep their own records of time they spent working each day. Id. In order to prove the
21 amount of unpaid overtime owed to Plaintiff and the Class, Plaintiff would likely have needed to
22 rely on survey data and testimonial evidence to establish the extent of damages, and a jury may have
23 refused to place weight on such evidence. Id. The risks to Plaintiff of losing losing class
24 certification, losing on the merits, and/or failing to prove the extent of damages, weigh heavily in
25 favor of preliminary approval. See Bayat v. Bank of the W., No. C-13-2376 EMC, 2015 WL
26 1744342, at *3 (N.D. Cal. Apr. 15, 2015) (“[A] settlement is in the interests of class members who
27 otherwise may not be entitled to any relief should their claims fail on the merits.”).
28
                                                       20
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 27 of 31



                    2.      The Risk, Expense, Complexity, and Likely Duration of Further
 1                          Litigation
 2         The proposed settlement confers a substantial benefit on Class Members, while further

 3 litigation would create significant risks and cause additional expense and delay. If the Parties
 4 continued to litigate the case, they would need to conduct further document discovery, including
 5 substantial discovery of electronically-stored information, and take numerous depositions of
 6 Defendant’s corporate representatives, Class Members, and other fact witnesses. Peterson-Fisher
 7 Decl. ¶ 62. Both Parties would likely need to retain experts to opine on liability and/or damages
 8 issues. Id. If Plaintiff obtained class certification and survived summary judgment, a fact-intensive
 9 trial would still be necessary to determine liability and damages. Id. A trial would be lengthy and
10 complex and would consume tremendous time and resources for all Parties and the Court. Id. Any
11 judgment would likely be appealed, further extending the litigation. Id. Given the risk, expense,
12 complexity, and delay that further litigation of this action would entail, preliminary approval is
13 especially appropriate. See Bayat, 2015 WL 1744342, at *4.
14                  3.      The Risk of Maintaining Class Action Status Through Trial
15          The fact that Plaintiff has not yet obtained class certification in this case weighs in favor of
16 preliminary approval. As set forth in Section IV(B)(1) and IV(D)(1) supra, Plaintiff faced numerous
17 obstacles to obtaining class certification on his claims. Even if Plaintiff had obtained certification
18 of the Class on all claims, Defendant could have sought, and the Court could have granted,
19 decertification of the Class in whole or in part at any point up through the trial date. See generally
20 Marlo, 639 F.3d 942 (affirming decertification of class); Peterson-Fisher Decl. ¶ 63. Given the
21 substantial risks Plaintiff faced in obtaining and/or maintaining class certification, this factor weighs
22 in favor of granting preliminary approval.
23                  4.      The Amount Offered in Settlement and Comparable Cases
24         The $3,200,000 settlement amount is an excellent result given not only the risks described in
25 Section IV(D)(1), supra, but in comparison to similar cases, summarized in chart form in paragraph
26 64 of the Peterson-Fisher Declaration. Peterson-Fisher Decl. ¶ 64. In Smith v. Red Robin, Defendant
27 successfully defeated a motion for class certification of a proposed class of “Intermediate Managers”
28
                                                        21
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
         Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 28 of 31




 1 asserting misclassification. Id. Ex. J; Smith, 2017 WL 1198907. The settlement in Bautista v. Red
 2 Robin provided an average estimated payment of $1,900.80 per class member, and the settlement in
 3 Outlaw v. Red Robin provided an average estimated payment of $5,433 per class member. Peterson-
 4 Fisher Decl. ¶ 64. This settlement provides an average per-class-member payment of $11,105, more
 5 than double the awards in Outlaw and nearly six times the awards in Bautista. Id.
 6          Although Plaintiff’s and Class Members’ total theoretical maximum recovery is far greater
 7 than the $3,200,000 settlement amount, “the tangible, immediate benefits of . . . [s]ettlement
 8 outweigh continued litigation and the uncertainty of a trial.” Ebarle v. Lifelock, Inc., No. 15-CV-
 9 00258-HSG, 2016 WL 234364, at *8 (N.D. Cal. Jan. 20, 2016) (internal quotation marks omitted)
10 (citing In re Linkedin User Privacy Litig., 309 F.R.D. 573, 587 (N.D. Cal. 2015) (“Immediate
11 receipt of money through settlement, even if lower than what could potentially be achieved through
12 ultimate success on the merits, has value to a class, especially when compared to risky and costly
13 continued litigation.”)). Given the risks of continued litigation, which include the risks of class
14 certification being denied and losing on the merits of their claims, the $3,200,000 settlement amount
15 is substantial and falls well within the range of possible approval.
16          The PAGA allocation of 3.1% is appropriate considering the risks of litigation and the
17 court’s discretion to reduce an award of PAGA penalties when it would be unjust, arbitrary, and
18 oppressive, or confiscatory to impose the full amount, and the potential denial of stacking and
19 subsequent violation penalties. Posephny, 2020 WL 13612298, at *3; Cotter v. Lyft, Inc., 193 F.
20 Supp. 3d 1030, 1037 (N.D. Cal. 2016);, 163 Cal.App.4th 1157, 1209 (2008); Peterson-Fisher Decl.
21 ¶ 65. Moreover, the allocation of 3.1% of the common fund to PAGA penalties is well within the
22 range of what courts in this District have approved.5
23          Because the total settlement amount compares favorably to comparable cases and the
24
25   5
       See, e.g., Cotter, 2016 WL 3561742, at 1037 (approving settlement with 3.7% of fund allocated
     to PAGA claims); Moore v. PetSmart, Inc., No. 5:12-CV-03577-EJD, 2015 WL 5439000, at *7,
26   *8–9 (N.D. Cal. Aug. 4, 2015), aff’d, 728 F. App’x 671 (9th Cir. 2018) (approving PAGA
     allocation equal to 0.5% of $10 million settlement); Cruz v. Sky Chefs, Inc., No. C-12-02705
27   DMR, 2014 WL 7247065, at *3 (N.D. Cal. Dec. 19, 2014) (approving PAGA allocation of 0.57%
     (footnote continued)
28
                                                      22
         MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                    APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 29 of 31




 1 proportion of the settlement allocated to PAGA penalties falls within the range of possible approval,
 2 this factor weighs in favor of preliminary approval.
 3                 5.      The Extent of Discovery Completed and Stage of the Proceedings
 4          Courts examine the extent of discovery completed and the stage of the proceedings with an
 5 eye to determining whether “the parties have sufficient information to make an informed decision
 6 about settlement.” Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1239 (9th Cir. 1998). As set
 7 forth in detail in Section II(A), the Plaintiff conducted document discovery and interviewed
 8 approximately three dozen SMs who worked at 54 different California Red Robin restaurants in
 9 depth. Moreover, this Court ordered Defendant to provide Plaintiff with the data necessary to
10 successfully evaluate this case and reach a resolution at mediation – the total compensation data and
11 dates of employment for the class as needed to project damages. ECF No. 23 (Dec. 12, 2022 CMC
12 Minute Order). In addition, the Court granted Plaintiff’s request for a second round of BelAire
13 notice to ensure Plaintiff had access to a sufficient number of class members to assess the merits of
14 the claims and the likelihood of class certification. ECF No. 27 (Feb. 13, 2023 CMC Minute Order).
15 Plaintiff had ample information to assess the strength of the claims and the risks of continued
16 litigation, and to build a sophisticated damages model which enabled a reasoned assessment of the
17 fairness of the proposed Settlement. Peterson-Fisher Decl. ¶ 66. Accordingly, this factor weighs in
18 favor of preliminary approval.
19                 6.      The Experience and Views of Counsel; Comparable Outcomes
20          The proposed settlement was reached through vigorous arm’s-length negotiation between
21 lawyers with significant experience litigating wage and hour class actions. Based on Class
22 Counsel’s experience litigating wage and hour class actions, and their analysis of settlements in
23 other similar cases, Class Counsel believes that the proposed settlement represents an excellent
24
25
     of $1.75 million settlement); Lusby v. Gamestop Inc., 297 F.R.D. 400, 407 n. 5 (N.D. Cal. 2013)
26   (approving PAGA allocation of 0.67% of $750,000 settlement); Chu v. Wells Fargo Invs., LLC,
     No. C-05-4526-MHP, 2011 WL 672645, at *1 (N.D. Cal. Feb. 16, 2011) (approving PAGA
27   allocation of 0.14% of $6.9 million settlement).
28
                                                     23
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 30 of 31




 1 monetary result for the Class, particularly in light of the risks of denial of class certification
 2 continued litigation and the outcomes in the Smith, Outlaw, and Bautista cases.               Id. ¶ 67.

 3 Accordingly, this factor also supports preliminary approval.
 4                  7.     The Presence of a Governmental Participant
 5          Here, the proposed settlement did not involve the presence of a governmental participant;
 6 therefore, this factor is neutral. Peterson-Fisher Decl. ¶ 68.
 7                  8.     The Reaction of Class Members to the Proposed Settlement
 8          Since Class Members have not yet been notified of the settlement, the Court cannot evaluate
 9 Class Members’ reaction, including the number and substance of objections, or the number of
10 exclusion requests. However, the Named Plaintiff’s signature on the Settlement Agreement is one
11 early indication of Class Members’ positive reaction to the proposed settlement. Id. ¶ 69, Ex. A at
12 35.
13          Because all of the factors (with the exception of Factor 7, which is neutral) indicate that the
14 settlement is fair, adequate, and reasonable, the Court should grant preliminary approval of the
15 settlement.
16          E.      The Proposed Notice and Settlement Procedure Are Appropriate.
17          Notice of a class action settlement “is satisfactory if it generally describes the terms of the
18 settlement in sufficient detail to alert those with adverse viewpoints to investigate and to come
19 forward and be heard.” Churchill Vill., L.L.C. v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004)
20 (internal quotation marks omitted); see Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306,
21 314 (1950). The detailed information in the Proposed Notice provides far more information than
22 this, and fully complies with the requirements of Rule 23(c)(2)(B), as explained in detail in the
23 Peterson-Fisher Declaration. Peterson-Fisher Decl. ¶¶ 51, 70, Ex. B.
24         Rule 23(c)(2)(B) requires the “best notice that is practicable under the circumstances,” by
25 “mail, electronic means, or other appropriate means.” The Procedural Guidance requires that the
26 notice rely on U.S. mail, email, and/or social media as appropriate, and that if U.S. Mail is used, the
27 envelope be designed to enhance the change that it will be opened. Defendant has email addresses
28
                                                  24
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
       Case 3:22-cv-02574-JCS Document 51 Filed 12/01/23 Page 31 of 31




 1 and phone numbers for Class Members, and accordingly notice will be distributed by email and by
 2 U.S. Mail. Ex. A § 9(A). Additionally, text messages will notify class members that notice has
 3 been emailed and mailed to them. Id. Any returned notices will be skip-traced and remailed. Id.
 4 If the Settlement Claims Administrator is unable to locate Class Members whose Notices are
 5 returned as undeliverable, Plaintiff’s Counsel will also make attempts to locate such Class Members.
 6 Peterson-Fisher Decl. ¶ 70. The Notice will be provided in English only, which is sufficient in this
 7 case because the SM position required SMs to speak and read English. Id.
 8         This robust manner of giving notice complies with Rule 23(c)(2) because it has a likelihood
 9 of reaching most, if not all, Class Members. Although greater efforts could conceivably result in a
10 higher likelihood of reaching all Class Members, such efforts (e.g., hiring private investigators) are
11 not warranted here given that such efforts would likely entail significant cost, Class Members’ stake
12 in recovery is limited to the claims asserted in the case, and the average monetary award is relatively
13 modest. Id. ¶ 71. Finally, after entry of final judgment, Plaintiff’s Counsel shall be responsible for
14 ensuring that the Settlement Claims Administrator posts on the website for this case that final
15 judgment in the case has been entered, so as to notify Class Members of the same. Id.
16    V.    CONCLUSION
17          For the reasons set forth above, Plaintiff respectfully requests that the Court grant his Motion
18    for Order Provisionally Certifying Settlement Class and Preliminarily Approving Class Settlement.

19
     DATED: December 1, 2023                    Respectfully submitted,
20
21                                              KATZ BANKS KUMIN LLP

22
23                                              By:
                                                      Rebecca Peterson-Fisher
24
25                                              Counsel for Plaintiff and the Proposed Class

26
27
28
                                                       25
        MOTION FOR ORDER PROVISIONALLY CERTIFYING SETTLEMENT CLASS AND PRELIMINARILY
                   APPROVING CLASS SETTLEMENT; MPA; CASE NO. 22-CV-02574-JCS
